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            EXHIBIT A
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                                                                       CT Corporation
                                                        Service of Process Notification
                                                                                                                 10/12/2023
                                                                                                    CT Log Number 544912698


Service of Process Transmittal Summary

TO:       PSORisk ManagementServiceofProces
          PROVIDENCE HEALTH & SERVICES
          C/ORISK MANAGEMENT, 1801 LIND AVENUE SW
          #9016
          RENTON, WA 98057-9016

RE:       Process Served in Washington

FOR:      PROVIDENCE ST. JOSEPH HEALTH FOUNDATION (Domestic State: WA)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                        SHANNON SPENCER, individually and on behalf of all others similarly situated vs.
                                        PROVIDENCE ST. JOSEPH HEALTH FOUNDATION
CASE #:                                 None Specified

PROCESS SERVED ON:                      CT Corporation System, Olympia, WA

DATE/METHOD OF SERVICE:                 By Process Server on 10/12/2023 at 12:35

JURISDICTION SERVED:                    Washington

ACTION ITEMS:                           CT will retain the current log

                                        Image SOP

                                        Email Notification, PSORisk ManagementServiceofProces
                                        psorisk.managementserviceofprocess@providence.org

                                        Email Notification, Christina Benedict christina.benedict@providence.org

                                        Email Notification, Bonnie Harrison bonnie.harrison@providence.org

                                        Email Notification, Katina Thornock katina.thornock@providence.org

REGISTERED AGENT CONTACT:               C T Corporation System
                                        711 Capitol Way S
                                        Suite 204
                                        Olympia, WA 98501
                                        877-564-7529
                                        MajorAccountTeam2@wolterskluwer.com



The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
contained therein.




                                                                                                                      Page 1 of 1
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                                                                           Wolters Kluwer

                              PROCESS SERVER DELIVERY DETAILS



Date:                                        Thu, Oct 12, 2023
Server Name:                                 Drop Service




 Entity Served                   PROVIDENCE ST. JOSEPH HEALTH FOUNDATION

 Case Number                     N/A

 J urisdiction                   WA



                                                 Inserts
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6
                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                           IN AND FOR THE COUNTY OF KING
 8
     SHANNON SPENCER,individually and on
 9
     behalf of all others similarly situated,             No.
10
                                   Plaintiff,             SUMMONS(20 DAYS)
11
            V.
12
     PROVIDENCE ST. JOSEPH HEALTH
13
     FOUNDATION,a Washington nonprofit
14   corporation doing business as PROVIDENCE;
     and DOES 1-20,
15
                                   Defendants.
16

17
            TO: PROVIDENCE ST. JOSEPH HEALTH FOUNDATION,a Washington nonprofit
18   corporation doing business as PROVIDENCE.
19
            A lawsuit has been started against you in the above entitled court by the above-captioned
20
     plaintiff. Plaintiffs claims are stated in the written complaint, a copy of which is served upon
21
     you with this summons.
22
            In order to defend against this lawsuit, you must respond by stating your defense in
23
     writing, and serve a copy upon the person signing this summons within 20 days after the service
24
     of this summons, excluding the day of service, or a default judgment may be entered against you
25
     without notice. A default judgment is one where the plaintiff is entitled to what he asks for
26



      SUMMONS(20 DAYS)- 1                                          EMERY I REDDY,PLLC
                                                                  600 Stewart Street, Suite 1100
                                                                       Seattle, WA 98101
                                                            PHONE:(206)442-9106 • FAX:(206)441-9711
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 1   because you have not responded. If you serve a notice of appearance on the undersigned person,
2    you are entitled to notice before a default judgment may be entered.
3           You' may demand that the plaintiff file this lawsuit with the court. If you do so, the
4    demand must be in writing and must be served upon the person signing this summons. Within
5    14 days after you serve the demand, the plaintiff must file this lawsuit with the court, or the
6    service on you of this summons and complaint will be void.
7           If you wish to seek the advice of an attorney in this matter, you should do so promptly so
8    that your written response, if any, may be served on time.
9           This summons is issued pursuant to Rule 4 of the Superior Court Civil Rules of The State
10   of Washington.
11

12          DATED October 10, 2023.                        EMERY I REDDY,PLLC
13

14
                                                   By:     /s/ Timothy W. Emery
15                                                         Timothy W. Emery, WSBA No. 34078
                                                           Patrick B. Reddy, WSBA No. 34092
16                                                         Paul Cipriani, WSBA No. 59991
                                                           Emery Reddy,PLLC
17                                                         600 Stewart Street, Suite 1100
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                                                           Phone:(206)442-9106
19                                                         Fax:(206)441-9711
                                                           Email: emeryt@emeryreddy.com
20                                                         Email: reddyp@emeryreddy.com
                                                           Email: paul@emeryreddy.com
21                                                         Attorneysfor PlaintiffShannon Spencer
                                                           and the Class
22

23

24

25

26



      SUMMONS(20 DAYS)-2                                            EMERY I REDDY,PLLC
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  7                 IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                              IN AND FOR THE COUNTY OF KING
  8
      SHANNON SPENCER,individually and on
  9   behalf of all others similarly situated,            No.
 10                                                       CLASS ACTION COMPLAINT FOR
                                    Plaintiff,
                                                          DAMAGES,INJUNCTIVE RELIEF,
 11
             V.                                           AND DECLARATORY RELIEF
 12
      PROVIDENCE ST. JOSEPH HEALTH
 13   FOUNDATION,a Washington nonprofit
      corporation doing business as PROVIDENCE;
 14
      and DOES 1-20,
 15
                                    Defendants.
 16

 17          Plaintiff Shannon Spencer, on behalf of himself and all others similarly situated (the

 18   "Class"), by and through counsel, brings this Class Action Complaint against the above-captioned

 19   Defendant("Defendant") and alleges, upon personal knowledge as to Plaintiff's own actions and

 20   Plaintiff's counsel's investigations, and upon information and belief as to all other matters, as

 21   follows:

 22                                  I.      NATURE OF THE CASE

'23           1.     Effective January 1, 2023, employers must disclose in each posting for each job

 24   opening, the wage scale or salary range and a general description of all of the benefits and other

 25   compensation to be offered to the hired applicant. RCW 49.58.110(1).

 26          2.      The Washington Legislature finds that "despite existing equal pay laws, there

 27   continues to be a gap in wages and advancement opportunities among workers in Washington."

       CLASS ACTION COMPLAINT FOR DAMAGES,                             EMERY I REDDY,PLLC
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 1   RCW 49.58.005(1). The Legislature further finds that "lower starting salaries translate into lower
 2   pay, less family income, and more children and families in poverty." RCW 49.58.005(3)(b).
 3          3.     "Some folks do not have the networks or ability to negotiate salaries. Salaries vary
 4   wildly in companies within the same industry and applicants do not have the ability to know what
 5   the value of the position is." H.B. Rep. ESSB 5761, at 2 (Wash. 2022). The Equal Pay and
6    Opportunities Act("EPOA")"allows a discussion at the start of the process instead of after an
 7   offer has been made, which will increase the ability to negotiate pay." Id. Additionally,"[m]any
 8   candidates spend hours going through rounds of interviews only to find out they can't live on the
9    offered pay." S.B. Rep. ESSB 5761, at 3 (Wash. 2022). The EPOA makes Washington "more
10   competitive for job seekers..." Id.
11          4.      This is a class action on behalf of individuals who applied to job openings with the
12   Defendant where the job postings did not include the wage scale or salary range in direct violation
13   of RCW 49.58.110.
14                               II.       JURISDICTION AND VENUE
15          5.      This Court has jurisdiction over this cause of action pursuant to RCW 2.08.010.
16          6.      Venue is proper in this Court pursuant to RCW 4.12.025 because the acts and
17   omissions alleged took place, in whole or in part, in King County, Washington, and Defendant
18   resides and transacts business in King County, Washington.
19          7.      Federal jurisdiction is inappropriate under the Class Action Fairness Act, 28
20   U.S.C. § 1332(d)(4)(A), because: (a) Defendant is a Washington entity; (b) all members of the
21   Class are applicants of a Washington employer, or were applicants of a Washington employer, at
22   all times relevant to their interactions with Defendant; (c) Defendant is registered to conduct
23   business, and regularly transacts business, within Washington; (d) the alleged conduct of
24   Defendant occurred within Washington;(e) the injuries to Plaintiff and the Class occurred within
25   Washington; and (f) during the three-year period preceding the filing ofthis action, no other class
26   action has been filed asserting the same or similar factual allegations against Defendant on behalf
27   of the same persons.

      CLASS ACTION COMPLAINT FOR DAMAGES,                              EMERY I REDDY,PLLC
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 1                                            III.   PARTIES
2           8.       Plaintiff Shannon Spencer is a resident of King County, Washington and applied
3    to work for Defendant at its location in Seattle, Washington.
4           9.       Defendant is a nonprofit corporation doing business as Providence. Defendant
5    regularly transacts business in King County, Washington and has multiple locations for the
6    transaction of business in King County, Washington, including at 1901 Lind Avenue SW,Renton,
7    Washington 98057.
8           10.       Plaintiff is currently unaware ofthe true names and capacities, whether individual,
9    corporate, associate, or otherwise, of the defendants sued herein under fictitious names Does 1-
10   20, inclusive, and therefore sues such defendants by such fictitious names. Plaintiff will seek leave
11   to amend this Complaint to allege the true names and capacities of the fictitiously named
12   defendants when their true names and capacities have been ascertained. Plaintiff is informed and
13   believes, and thereon alleges, each of the fictitiously named defendants is legally responsible in
14   some manner for the events and occurrences alleged herein, and for the damages suffered by
15   Plaintiff and the Class.
16       IV.        FACTS APPLICABLE TO THE CLASS AND ALL CAUSES OF ACTION
17           1 1.     Effective January 1, 2023, all Washington employers are required to disclose in
18   each posting for each job opening the wage scale or salary range, and a general description of all
19   of the benefits and other compensation to be offered to the hired applicant. RCW 49.58.110.
20           12.      For the purposes of RCW 49.58.110,"posting" means any solicitation intended to
21   recruit job applicants for a specific available position, including recruitment done directly by an
22   employer or indirectly through a third party, and includes any postings done electronically, or with
23   a printed hard copy, that includes qualifications for desired applicants. RCW 49.58.110(1).
24           13.      Defendant employs more than 15 individuals.
25           14.      From January 1, 2023 to the present, Plaintiff and more than 40 Class members
26   applied to job openings with Defendant for positions located in Washington state where the
27   postings did not disclose the wage scale or salary range.

      CLASS ACTION COMPLAINT FOR DAMAGES,                               EMERY I REDDY,PLLC
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 1           15.    On or about August 28, 2023, Plaintiff applied for a job opening of IS Support
 2   Specialist in King County, Washington with Defendant. The posting for the job opening did not
3    disclose the wage scale or salary range.
4            16.    Plaintiff and the Class members lost valuable time applying for jobs with
 5   Defendant for which the wage scale or salary range was not disclosed to them.
6            17.    As a result of Plaintiffs and Class members' inability to evaluate the pay for the
 7   position, negotiate that pay, and compare that pay to other available positions in the marketplace,
 8   Plaintiff and the Class members were harmed.
9            18.    As a result of Defendant's actions and omissions,Plaintiff and the Class have been
10   damaged in amounts to be proven at trial.
11                              V.      CLASS ACTION ALLEGATIONS
12           19.    Class Definition. Under Civil Rule 23(a) and (b)(3), Plaintiff brings this case as a
13   class action against Defendant on behalf of the Class defined as follows (the "Class"):
14                  All individuals who, from January 1, 2023 through the date notice
                    is provided to the Class, applied for a job opening in the State of
15
                    Washington with Defendant, where the job posting did not disclose
16                  the wage scale or salary range for the position.

17          20.     Excluded from the Class are the Defendant and Defendant's officers, directors, and

18   independent contractors, and any judge to whom this case is assigned, as well as his or her staff

19   and immediate family.

20          21.     Numerosity. There are potentially hundreds of individuals who applied for jobs

21   with Defendant within the time period relevant to this matter. Joinder of all such individuals is

22   impracticable. Further, the disposition of all claims of the Class in a single action will provide

23   substantial benefits and efficiency to all parties and to the Court.

24          22.     Commonality. Because all applicants applied for job openings that did not disclose

25   the wage scale or salary range,this is a straightforward matter ofdetermining whether Defendant's

26   actions violate Washington law, and, if so, assessing damages.

27


      CLASS ACTION COMPLAINT FOR DAMAGES,                                EMERY I REDDY,PLLC
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 1          23.      Typicality. Plaintiff's claims are typical of the claims of the Class. Plaintiff and
 2   Class members all applied for job openings with Defendant that did not disclose the wage scale or
 3   salary range.
4           24.      Adequacy. Plaintiff will fairly and adequately protect the interests of the Class.
 5   Plaintiff has retained competent and capable attorneys with substantial experience in complex
6    class action litigation. Plaintiff and Plaintiff's counsel are committed to prosecuting this action
7    vigorously on behalf of the Class and have the financial resources to do so. Neither Plaintiff nor
 8   Plaintiff's counsel have interests that are contrary to or that conflict with those ofthe Class.
9           25.      Predominance. Defendant has engaged in a common course of conduct of failing
10   to disclose the wage scale or salary range in job postings in violation of RCW 49.58.110. The
11   common issues arising from Defendant's unlawful conduct affect Plaintiff and Class members and
12   predominate over any individual issues. Adjudication of these common issues in a single action
13   has the important and desirable advantage ofjudicial economy.
14          26.      Superiority. Plaintiff and the Class have suffered, and will continue to suffer, harm
15   and damages as a result of Defendant's unlawful and wrongful conduct. Absent a class action,
16   however, most Class members would find the cost of litigating their claims prohibitive, especially
17   when that cost is balanced against each individual's respective potential award. Class treatment is
18   superior to multiple individual suits or piecemeal litigation because it conservesjudicial resources,
19   promotes consistency and efficiency of adjudication, provides a forum for claimants with smaller
20   cases and those with few resources, and deters illegal activities. There will be no significant
21   difficulty in the management ofthis case as a class action. The Class members and thejob postings
22   to which they applied are readily identifiable through Defendant's own records.
23   ///
24   ///
25   ///
26   ///
27   ///

      CLASS ACTION COMPLAINT FOR DAMAGES,                               EMERY I REDDY,PLLC
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1                                      VI.    CAUSES OF ACTION
2                                      FIRST CAUSE OF ACTION
                                     VIOLATION OF RCW 49.58.110
3                                 Claim ofRelieffor Plaintiffand the Class
4           27.     Plaintiff incorporates by reference all foregoing factual allegations.
5           28.     As described more fully above, Defendant did not disclose the wage scale or salary
6    range in its job postings.
7           29.     On or after January 1, 2023, Plaintiff and the Class applied for job openings with
8    the Defendant where the postings did not disclose the wage scale or salary range.
9           30.     Defendant's actions and/or omissions violate RCW 49.58.110.
10          31.     As a result of Defendant's actions and omissions, Plaintiff and the Class have been
11   damaged in amounts to be proven at trial.
12                                   SECOND CAUSE OF ACTION
                                         INJUNCTIVE RELIEF
13                                Claim ofRelieffor Plaintiffand the Class
14          32.     Plaintiff incorporates by reference all foregoing factual allegations.

15          33.     Plaintiff and the Class are entitled to an injunction prohibiting Defendant from

16   further violations of Washington law. Specifically, Plaintiff seeks injunctive relief to require

17   Defendant to disclose in each posting for each job opening the wage scale or salary range.

18                                    THIRD CAUSE OF ACTION
                                        DECLARATORY RELIEF
19                                Claim ofRelieffor Plaintiffand the Class
20          34.     Plaintiff incorporates by reference all foregoing factual allegations.

21          35.     Plaintiff and the Class are entitled to a declaration that Defendant's practice o

22   failing to disclose in each posting for each job opening the wage scale or salary range is illegal.

23           36.    Plaintiff and the Class are entitled to a final judicial determination of the amounts

24   owing to Plaintiff and the Class as a result of Defendant's failure to disclose in each posting for

25   each job opening the wage scale or salary range.

26

27

      CLASS ACTION COMPLAINT FOR DAMAGES,                              EMERY I REDDY,PLLC
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                                                                           Seattle, WA 98101
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 1                                   VII.    REQUEST FOR RELIEF
 2            Plaintiff, individually and on behalf of the members of the Class, requests that the Court
 3   enter judgment against Defendant as follows:
 4            1.     An Order certifying that this action be maintained as a class action and appointing
 5   Plaintiff as Class Representative and Plaintiff's counsel as Class Counsel;
6             2.     Statutory damages equal to Plaintiff's and the Class members' actual damages or
 7   five thousand dollars, whichever is greater, pursuant to RCW 49.58.070(1);
 8            3.     Costs and reasonable attorneys' fees pursuant to RCW 49.58.070(1);
 9            4.     Preliminary and permanent injunctive relief prohibiting, restraining, and enjoining
10   Defendant from engaging in the conduct cothplained of herein, including, but not limited to, an
11   Order requiring Defendant to disclose in each posting for each job opening the wage scale or salary
12   range;
13            5.     Declaratory relief to the effect that Defendant's failure to disclose in each posting
14   for each job opening the wage scale or salary range violates Washington law;
15            6.     Pre- and post-judgment interest;
16            7.     Leave to amend the Complaint to conform to the evidence; and
17            8.     Any additional or further relief which the Court deems equitable, appropriate, or
18   just.
19   ///
20   ///
21   ///
22   ///
23   ///
24   ///
25   ///
26   ///
27   ///

      CLASS ACTION COMPLAINT FOR DAMAGES,                               EMERY I REDDY,PLLC
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          DATED October 10, 2023                EMERY I REDDY,PLLC
 2

 3                                        By:   /s/ Timothy W. Emery
                                                Timothy W.Emery, WSBA No. 34078
 4                                              Patrick B. Reddy, WSBA No. 34092
                                                Paul Cipriani, WSBA No. 59991
 5                                              Emery Reddy,PLLC
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                                                Attorneysfor PlaintiffShannon Spencer
10
                                                and the Class
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     CLASS ACTION COMPLAINT FOR DAMAGES,                    EMERY I REDDY,PLLC
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